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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE
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IRON WORKERS DISTRICT COUNCIL OF
NEW ENGLAND PENSION FUND,
Individually and on Behalf of All Others
Similarly Situated,

                               Plaintiff,

        v.

MONEYGRAM INTERNATIONAL, INC.,                                    C.A. No. 15-402-LPS
THOMAS H. LEE PARTNERS, L.P., PAMELA
H. PATSLEY, W._ALEXANDERHOLMES, J.
COLEY CLARK, VICTOR W. DAHIR,
ANTONIO 0. GARZA, THOMAS H.
HAGERTY, SETHW. LAWRY, PEGGY
VAUGHAN, GANESH RAO, W. BRUCE
TURNER, MERRILL LYNCH, PIERCE,
FENNER & SMITH INCORPORATED,·
WELLS FARGO SECURITIES, LLC,
GOLDMAN SACHS & CO., INC., J.P.
MORGAN SECURITIES, LLC, MACQUARIE
CAPITAL (USA) INC., and WILLIAM BLAIR
& COMPANY, L.L.C.,

                               Defendants.
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          - O R D E R FOR APPOINTMENT AS LEAD PLAINTIFF
              AND APPROVAL OF SELECTION OF LEAD COUNSEL
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          Having considered the motion of Iron· Workers District Council ofNew England Pension

Fund ("New England Iron Workers") for appointment as Lead Plaintiff and approval of selection

of Lead Counsel,

          IT IS HEREBY ORDERED THAT:

          I.     The motion is granted.

          IL     This Order (the "Order") shall apply to the above-captioned action (the "Action")

and to each case that relates to the same subject matter that is subsequently filed in this Court or

is transferred to this Court, and is consolidated with the Action.

          III.   A Master File is established for this proceeding. The Master File shall be Case

No. 15-402-LPS. The Clerk shall file all pleadings in the Master File and note such filings on

the Master Docket.

          N.     Every pleading in the Action shall have the following caption:


  IN RE MONEYGRAM INTERNATIONAL,                    1



  INC. SECURITIES LITIGATION     I Case No. 15-402-LPS
                                                    !


          V.     The Court requests the assistance of counsel in calling to the attention of the Clerk

of this Court the filing or transfer of any case that may properly be consolidated as part of the

Action.

          VI.    Each new case that arises out of the subject matter of the Action shall be

consolidated with the Action. This Order shall apply thereto, unless a party objects to

consolidation (as provided for herein), or to any provision of this Order, within ten (10) days

after the date upon which a copy of this Order is served on counsel for such party by filing an

application for relief, and this Court deems it appropriate to grant such application. Nothing in
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the foregoing shall be construed as a waiver of Defendants' right to object to the consolidation of

any subsequently-filed or transferred related action.

       VII.    New England lion Workers is appointed to serve as Lead Plaintiff in the Action

pursuant to 15 U.S.C. § .77z-l(a)(3)(B).

       VIII.   New England Iron Workers' selection of Labaton Sucharow LLP as Lead Counsel

for the Class is approved pursuant to 15 U.S.C. § 77z-l(a)(3)(B)(v). Lead Counsel shall have the

authority to speak for all Plaintiffs and Class members in all matters regarding the litigation,
                                                                             I


including, but not limited to, pre-trial proceedings, motion practice, trial, and settlement. Lead

Counsel shall make all work assignments in such a manner as to facilitate the orderly and

efficient prosecution of the Action, and to avoid duplicative or unproductive effort.

Additionally, Lead Counsel shall have the following responsibilities:

               A.      to brief and argue motions;

               B.      to initiate and conduct discovery, including, but not limited to,

coordination of discovery with Defendants' counsel, and the preparation of written

interrogatories, requests for admissions, and requests for production of documents;

               C.      to direct and coordinate the examination of witnesses in depositions;

               D.      to act as spokesperson at pretrial conferences;

               E.      to call and chair meetings of Plaintiffs' counsel as appropriate or

necessary from time to time;

               F.      to initiate and conduct any settlement negotiations with Defendants'

counsel;

               G.      to provide general coordination of the activities of Plaintiffs' counsel and

to delegate work responsibilities to selected counsel as may be required, in such a manner as to




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lead to the orderly and efficient prosecution of this litigation and to avoid duplication or

unproductive effort;

               H.      to consult with and employ experts;

               I.      to receive and review periodic time reports of all attorneys on behalf of

Plaintiffs, to determine if the time is being spent appropriately and for the benefit of Plaintiffs,

and to determine and distribute Plaintiffs' attorneys' fees; and

               J.      to perform such other duties as may be expressly authorized by further

order of this Comi.




                                                       HON. LEONARD P. STARK
                                                       UNITED STATES DISTRICT WDGE




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